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13
                     IN THE UNITED STATES DISTRICT COURT
14

15               FOR THE NORTHERN DISTRICT OF CALIFORNIA
16
     SYMBOLOGY INNOVATIONS,
17
     LLC,                   Civil Action No.: 3:20-cv-02828-WHO
18
                  Plaintiff,
19
                                           TRIAL BY JURY DEMANDED
20          v.
21
     23ANDME, INC.,
22

23                Defendant.
24
                       JOINT NOTICE OF SETTLEMENT AND
25                      MOTION TO STAY ALL DEADLINES
26
           Now come Plaintiff, Symbology Innovations LLC, and Defendant, 23andMe,
27

28
     Inc. (collectively the “Parties”), by and through undersigned counsel and subject to
     JOINT NOTICE OF SETTLEMENT AND MOTION TO STAY ALL DEADLINES- 1
             Case 3:20-cv-02828-WHO Document 19 Filed 06/30/20 Page 2 of 4



1    the approval of this Court, and hereby file this Joint Notice of Settlement and Motion
2
     to Stay All Deadlines, and in support thereof, respectfully show the Court as follows:
3

4          All matters in controversy between the Parties have been settled in principle.
5
     The Parties are in the process of memorializing the terms of a written settlement
6

7
     agreement. The Parties anticipate that they will be able to perform such terms within

8    forty-five (45) days. Accordingly, the Parties respectfully request that the Court
9
     grant a stay of the proceedings between the Parties, including the deadline for
10

11   Defendant to respond to the complaint and all other deadlines, until August 14, 2020.
12
           Good cause exists for granting this Joint Motion, as set forth above. The
13

14
     motion is not filed for purposes of delay but so that justice may be served.

15                         CERTIFICATE OF CONFERENCE
16
           The undersigned certifies that counsel for Plaintiff conferred with Defendant
17

18   about the issues presented here.
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     JOINT NOTICE OF SETTLEMENT AND MOTION TO STAY ALL DEADLINES- 2
            Case 3:20-cv-02828-WHO Document 19 Filed 06/30/20 Page 3 of 4



1    Dated: June 30, 2020               Respectfully submitted,
2
     Marc A. Karish                     SAND, SEBOLT & WERNOW CO., LPA
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                                        ATTORNEYS FOR PLAINTIFF
11

12
                                        MORGAN, LEWIS & BOCKIUS, LLP

13                                      /s/ Ahren C. Hsu-Hoffman
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                                        ATTORNEY FOR DEFENDANT

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     JOINT NOTICE OF SETTLEMENT AND MOTION TO STAY ALL DEADLINES- 3
            Case 3:20-cv-02828-WHO Document 19 Filed 06/30/20 Page 4 of 4



1                             CERTIFICATE OF SERVICE
2
           The undersigned hereby certifies that a true and correct copy of the above and
3

4
     foregoing document has been served on June 30, 2020, to all counsel of record who
5    is deemed to have consented to electronic service via the Court’s CM/ECF system.
6

7
                                              /s/ Howard L. Wernow
8                                             Howard L. Wernow
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     JOINT NOTICE OF SETTLEMENT AND MOTION TO STAY ALL DEADLINES- 4
